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11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 04-1189(A)-CAS

14              Plaintiff,                    GOVERNMENT’S RESPONSE TO
                                              ORDER TO SHOW CAUSE AND MOTION TO
15                    v.                      DISMISS DEFENDANT’S MOTION FOR
                                              EMERGENCY PROTECTIVE ORDER
16   GABRIEL GONZALEZ,

17              Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Karen I. Meyer,
22   hereby files its response to this Court’s order to show cause and
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1    motion to dismiss defendant’s motion for emergency protective order.

2     Dated: October 20, 2020              Respectfully submitted,

3                                          NICOLA T. HANNA
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7                                                /s/
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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          On August 31, 2020, defendant filed a motion for emergency

4    protective order for Forrest City-FCI to be ordered to provide

5    prescription antacid medication to defendant free of charge to treat

6    his gastroesophageal reflux disease (“GERD”), (CR 222), despite

7    Forrest City-FCI being in compliance with the Bureau of Prisons’

8    policy regarding dispensation of medication.          Defendant asserts

9    without support that he has been denied treatment because of his

10   complaint over lack of treatment upon testing positive for COVID-19.

11   On October 6, 2020, this Court issued an order to show cause as to

12   why the government should not continue to provide defendant his

13   medication.

14         Defendant’s motion should be dismissed because this Court does

15   not have the authority to address conditions of confinement as part

16   of defendant’s criminal case.       Defendant is required to file a civil

17   action pursuant to 28 U.S.C. § 1963 to challenge his prison

18   conditions in a venue proper to hear such matters, which would be in

19   the Eastern District of Arkansas, not the Central District of

20   California.    Finally, any civil action cannot be brought until

21   defendant exhausts his administrative remedies under the Prison

22   Litigation Reform Act.

23   II.   FACTS
24         Defendant states that Forrest City-FCI has recently required him
25   to purchase his antacid medication at the prison commissary, that he
26
     has been unable to obtain the medication in sufficient supply to last
27
     between periods when he has access to the commissary, and that
28
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1    lockdown has made it difficult for him to earn enough at his prison
2    law library job to purchase the medication.          (Mot. at 2.)    Defendant
3
     seeks an order that the facility continue to provide him his
4
     medication free of charge.
5
           As reflected in the BOP’s Program Statement, attached hereto as
6
     Exhibit A:
7

8          Inmates may buy OTC medications which are available at the
           commissary. Inmates may also obtain OTC medications at sick
9          call if the inmate does not already have the OTC medication
           and:
10
           a.    Health services staff determine that the inmate has an
11               immediate medical need which must be addressed before
                 his or her regularly scheduled commissary visit; or
12

13         b.    The inmate is without funds.

14
     Program Statement, Exhibit (“Ex.”) A, at 1.          An inmate without funds
15
     “is an inmate who has not had a trust fund account balance of $6.00
16
     for the past 30 days.”      Id.
17
           Emails between defendant and the facility indicate that as
18
     recently as September 14, 2020, defendant was advised to either
19
     purchase the medication through his trust fund account, or to obtain
20
     the medication through sick call. 1       Emails, attached hereto as Ex. B.
21
     As noted above, for medication to be dispensed through sick call,
22
     health services staff must determine that the inmate “has an
23
     immediate medical need” before the inmate’s next commissary visit.
24
           Defendant has not provided any information that his trust fund
25
     account balance fell below the $6.00 monthly requirement that would
26

27
           1It should be noted that in June 2020, defendant was given a
28   prescription for Omeprazole for esophageal reflux. Medical Records,
     Ex. C.
                                        2
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1    obligate the facility to provide the medication free of charge, or

2    that he has been denied medication through sick call despite a

3    determination of “immediate medical need.”

4    III. ARGUMENT
5          A.    This Court Has No Authority to Hear Defendant’s Motion for
                 Emergency Protective Order
6
           It is settled that an inmate’s challenges to the conditions of
7
     his or her confinement are only properly asserted in a civil rights
8

9    action.    Preiser v. Rodriguez, 411 U.S. 475, 484, 498-499

10   (1973)(contrasting petitions for habeas relief with civil rights

11   actions); United States v. Antonelli, 371 F.3d 360, 361 (7th Cir.
12   2004) (recognizing that a motion in a criminal case was actually a
13
     separate civil action raising a facial challenge to a BOP policy).
14
     “The practice in the Ninth Circuit long has been that challenges to
15
     conditions of confinement be brought in a civil rights complaint.”
16
     McKinney v. Biter, 2016 WL 741984, *2 (N.D. Cal. 2/25/16) (citing
17

18   Badea v. Cox, 931 F.2d 573, 574 (9th Cir. 1991) (civil rights action

19   proper method to challenge conditions of confinement), Crawford v.

20   Bell, 599 F.2d 890, 891-92 & n.1 (9th Cir. 1979) (affirming dismissal
21
     of habeas petition because challenges to terms and conditions of
22
     confinement must be brought as civil rights complaint)).
23
           Further, such actions must be brought in the proper venue.
24
     “Venue generally is proper in a judicial district in which any
25

26   defendant resides or in a judicial district in which a substantial

27   part of the events or omissions giving rise to the claim occurred.”

28   McKinney, 2016 WL 741984, *2 (citing 28 U.S.C. § 1391(b)).            As the
                                             3
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1    district court in McKinney noted, “[a] civil rights complaint about
2    the conditions of confinement at Folsom State Prison in Sacramento
3
     County generally should be filed in the Eastern District of
4
     California.    A civil rights complaint about the conditions of
5
     confinement at Kern Valley State Prison in Kern County generally
6
     should be filed in the Eastern District of California.            A civil
7

8    rights complaint about the conditions of confinement at Salinas

9    Valley State Prison in Monterey County generally should be filed in

10   the Northern District of California.”         Id.
11         Similarly, any civil rights complaint pursuant to 42 U.S.C.
12
     § 1983 challenging the conditions of defendant’s confinement should
13
     be brought in the Eastern District of Arkansas, where Forrest City-
14
     FCI is located.     This Court does not have authority to direct the
15

16   Federal Bureau of Prisons to provide defendant with medication at

17   Forrest City-FCI in Forrest City, Arkansas, an institution well

18   outside the geographical limits of the Central District of
19   California.
20
           B.    Any Civil Rights Complaint Must Satisfy the Exhaustion
21               Requirements of the Prison Litigation Reform Act

22         Even if construed as a separate civil action filed in the proper

23   venue, defendant’s motion faces mandatory dismissal under the Prison

24   Litigation Reform Act of 1995 (“PLRA”).         Defendant cannot proceed
25   with any claim without first satisfying the provisions of the PLRA,
26
     which contains a number of requirements that an inmate must fulfill
27
     before being able to proceed with an action, including the
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1    requirement to exhaust administrative remedies before filing suit.
2    See Booth v. Churner, 532 U.S. 731, 741 (2001); 42 U.S.C. § 1997e(a)
3
     (stating that "[n]o action shall be brought with respect to prison
4
     conditions under section 1983 of this title, or any other Federal
5
     law, by a prisoner confined in any jail, prison, or other
6
     correctional facility until such administrative remedies as are
7

8    available are exhausted.").

9          An inmate’s failure to exhaust administrative remedies prior to

10   the filing of the district court complaint is an appropriate basis
11   for dismissal.     Wyatt v. Terhune, 315 F.3d 1108, 1119 (9th Cir. 2003)
12
     (if the district court concludes that the prisoner has not exhausted
13
     nonjudicial remedies, the proper remedy is dismissal of the claim
14
     without prejudice) (citing Ritza v. Int'l Longshoremen's &
15

16   Warehousemen's Union, 837 F.2d 365, 368 (9th Cir. 1988));            McKinney

17   v. Carey, 311 F.3d 1198, 1199-1200 (9th Cir. 2002)(dismissal is

18   appropriate where the prisoner failed to exhaust administrative
19   remedies prior to filing suit even though the prisoner was in the
20
     process of doing so during the course of the litigation).
21
           The administrative remedy procedures for the BOP are set out at
22
     28 C.F.R. §§ 542.10-542.19.       This program is a four-tiered review
23
     process comprised of an informal resolution process, and requests to
24

25   the Warden, the Regional Director, and the Office of General Counsel.

26   Specifically, inmates must generally first attempt to resolve their

27   claims informally with the unit.        28 C.F.R. § 542.13(a).      If
28   dissatisfied, the inmate must submit a formal administrative remedy
                                             5
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1    request to the warden using the BP-9 form.         28 C.F.R. § 542.14.
2    This institution-level remedy request submitted with the Warden is
3
     commonly referred to as a BP-9.        The inmate has 20 calendar days
4
     following the date on which the basis for the request occurred to
5
     file the BP-9.     28 C.F.R. § 542.14.
6
           The warden's decision can be appealed to the Regional Director
7

8    using the BP-10 form.      28 C.F.R. § 542.15(a).      Finally, if still

9    dissatisfied, the inmate may further appeal to the General Counsel

10   using the BP-11 form.      28 C.F.R. § 542.15(b).      Only after inmates
11   complete this process may they bring their claims to court.            42
12
     U.S.C. § 1997e.
13
           Here, there is no evidence that defendant exhausted all of the
14
     remedies available.      Until he exhausts those remedies, defendant
15

16   cannot apply to the court for relief.

17   IV.   CONCLUSION

18         Defendant’s motion for emergency protective order should be

19   dismissed because this Court has no authority to address defendant’s

20   conditions of confinement at a correctional facility located in the

21   Eastern District of Arkansas.       Even if the Court could reach the

22   merits of defendant’s motion, the motion should be dismissed because

23   defendant has provided no evidence that he has exhausted all

24   administrative remedies.

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